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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,


        v.
                                                          Criminal Action No. PX-20-0434
 JEREMY WYETH SCHULMAN,

        Defendant.

                             PRETRIAL SCHEDULING ORDER

        For the reasons stated during the today’s status conference, and with agreement of the
parties, the Court issues the following pretrial deadlines:

       TBD                              Defendant to supplement/add motions to suppress
                                        and other pretrial motions

       TBD                              Government’s Omnibus Response

       TBD                              Motions Hearing

       TBD                              Motions in Limine due

       TBD                              Responses to Motions in Limine; Joint Voir Dire,
                                        Jury Instructions and Verdict sheet to be filed
                                        electronically and submitted via email in
                                        Microsoft Word format to chambers:
                                        Mdd_pxchambers@mdd.uscourts.gov

                                         (Government responsible for filing; Defendants
                                        to indicate proposed changes in redline format.)

                                        Government to provide Jencks and Giglio to
                                        Defendant

       TBD                              Pre-trial Conference/Hearing on Motions in
                                        Limine/voir dire and jury instructions

       October 11, 2022                 Trial begins. Expected length: 3 weeks
                                        (Week 1, Tuesday–Friday; Week 2 and 3, Monday
                                        – Thursday)


       Dated: July 8, 2021                                     /S/
                                                    Paula Xinis
                                                    United States District Judge
